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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES-GENERAL

Case No.: CV 18-5086-GW (PLA)                                                       Date: September 28, 2021

Title:    James Anthony Rainone v. D. Paz, et al.


PRESENT: THE HONORABLE                   PAUL L. ABRAMS
                                         UNITED STATES MAGISTRATE JUDGE
         Christianna Howard                                N/A                                            N/A
          Deputy Clerk                             Court Reporter / Recorder                           Tape No.

ATTORNEYS PRESENT FOR PLAINTIFF:                                     ATTORNEYS PRESENT FOR DEFENDANT(S):
                NONE                                                                 NONE

PROCEEDINGS:              (IN CHAMBERS)

On August 30, 2021, defendants filed a Motion to Exclude Testimony of N. Woodward (ECF No. 112).
Nehemiah Woodward allegedly assaulted plaintiff while in custody, which led to plaintiff filing this action.
Defendants’ Motion was based on their representation that Woodward refused to appear for his duly-noticed
deposition by video conference on August 9, 2021; that defendants are prejudiced in the preparation of their
defense based on that refusal to appear; and that as a result no one should be allowed to call Woodward as a
witness at trial. Plaintiff in his Opposition (ECF No. 117) argues that Woodward’s testimony at trial will be
“necessary,” clearly signally that his case will rely at least in part on Woodward’s testimony. There is no
indication in the Motion or the Opposition that plaintiff is responsible for Woodward’s refusal to appear at his
deposition.

Based on evidence that Woodward refused to appear at his deposition, Nehemiah Woodward is ordered to
show cause why he should not be sanctioned by the Court for his refusal to appear at a legally noticed
deposition. In response to this Order, no later than October 19, 2021, Mr. Woodward must file a statement
with the Court under penalty of perjury providing his reasons for not appearing for his deposition. The
Court at that time will determine the appropriate sanctions to impose on Mr. Woodward. The Court notes that
a consequence of Mr. Woodward’s refusal to appear for his deposition may include him being prohibited
from testifying at plaintiff’s trial.




cc:      James Anthony Rainone, pro se
         Jeremy C. Doernberger, CAAG


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